         Case 1:21-mi-55555-JPB Document 286 Filed 10/05/22 Page 1 of 4




                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


                                                              Master Case No.:
    IN RE GEORGIA SENATE BILL 202
                                                              1:21-MI-55555-JPB


      NON-PARTY LAWMAKERS’ MOTION TO QUASH SUBPOENAS

       COME NOW, the non-party Lawmakers 1 identified in the footnote below

(hereinafter “Lawmakers”) and file this, their Motion to Quash Subpoenas as to the

deposition and documents subpoenas served on the Lawmakers by the Plaintiffs and

incorporated herein by reference on the grounds that the evidence sought is barred

by the doctrine of legislative privilege and for other good cause shown, as set forth

in the Non-Party Lawmaker’s Brief in Support of this Motion, which is filed

contemporaneously herewith and in support hereof.



1
 The non-party Lawmakers who received both deposition and document subpoenas
from Plaintiffs are: Senators Max Burns, Mike Dugan, Steve Gooch, Butch Miller,
Jeff Mullis, Randy Robertson, and Brian Strickland; Representatives Shaw
Blackmon, Barry Fleming, Jan Jones, Chuck Martin, Alan Powell, David Ralston,
and Bonnie Rich; Lieutenant Governor Geoff Duncan; and former Senator William
Ligon. The non-party Lawmakers who received document subpoenas only are
Senators Dean Burke, Jason Anivitarte, Bo Hatchett, John Kennedy, and Blake
Tillery; Representatives Buddy DeLoach, Houston Gaines, Lynn Smith, and Rick
Williams; and Former Senator Bill Heath (collectively, the “Lawmakers”).
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                                                                          SGR/41279590.1
       Case 1:21-mi-55555-JPB Document 286 Filed 10/05/22 Page 2 of 4




      WHEREFORE, the non-Party Lawmakers pray that this Court enter an Order

quashing Plaintiffs’ deposition subpoenas outright and quashing or limiting

Plaintiffs’ document subpoenas to the documents already produced by Lawmakers.

      Respectfully submitted this 5th day of October, 2022.


                                       /s/ Alex Khoury__________________
                                       Alex Khoury
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                                        2


                                                                     SGR/41279590.1
        Case 1:21-mi-55555-JPB Document 286 Filed 10/05/22 Page 3 of 4




                      CERTIFCATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), I hereby certify that the forgoing motion has been

prepared in Time New Roman 14, a font and type selection approved by the Court

in L.R. 5.1(C).



                                        /s/ Alex Khoury__________________
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                                        Special Assistant Legislative Counsel
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                                         3


                                                                         SGR/41279590.1
        Case 1:21-mi-55555-JPB Document 286 Filed 10/05/22 Page 4 of 4




                IN THE UNITED STATES DISTRICT COURT
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 IN RE GEORGIA SENATE BILL 202
                                                              1:21-MI-55555-JPB


                           CERTIFICATE OF SERVICE

      I hereby certify that on October 5, 2022, I electronically filed the foregoing

with the clerk of the court using the CM/ECF system, which will send notification

of this filing to counsel of record.



                                         /s/ Alex Khoury__________________
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